                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

FRANCIS X. DELUCA,

                   Plaintiff,

v.

NORTH CAROLINA STATE BOARD OF
ELECTIONS; KIM WESTBROOK STRACH,
in her official capacity as Executive Director of
the State Board; and A. GRANT WHITNEY,
RHONDA K. AMOROSO, JOSHUA D.
MALCOLM, JAMES BAKER, and MAJA
KRICKER, in their official capacities as
members of the State Board of Elections,

                   Defendants,                               No. 5:16-cv-913

and

LEAGUE OF WOMEN VOTERS OF NORTH
CAROLINA, et al.,

and

NORTH CAROLINA STATE CONFERENCE
OF THE NATIONAL ASSOCIATION FOR
THE ADVANCEMENT OF COLORED
PEOPLE,

Defendant-Intervenors,



                MOTION FOR LEAVE TO FILE BRIEF AMICUS CURIAE

       Senator Daniel Blue Jr., Representative Verla Insko, Senator Floyd McKissick Jr.,

Representative Mary Price Taylor Harrison, Representative Michael H. Wray, Senator Angela R.

Bryant, and Representative Susan C. Fisher respectfully move the Court for leave to file the

attached Brief Amicus Curiae of Senator Daniel Blue Jr., et al. in Support of Defendant-

Intervenors League of Women Voters of North Carolina, et al’s Memorandum in Support of



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Motion to Dismiss for Failure to State a Claim and Defendant-Intervenor North Carolina State

Conference of the National Association for the Advancement of Colored People’s Memorandum

in Support of Motion to Dismiss Amended Motion for Preliminary Injunction. Dkt. 37 and 40.

       Senator Daniel Blue Jr. is a member of the North Carolina General Assembly (“General

Assembly”) representing the 14th Senate District and the Senate Minority Leader. Senator Blue

served in the North Carolina House of Representative from 1981 through 2002 and from 2006

through 2009, and he has served in the North Carolina Senate since 2009.

       Representative Verla Insko is a member of the General Assembly representing the 56th

House District. Representative Insko has served in the North Carolina House of Representatives

since 1997.

       Senator Floyd McKissick Jr. is a member of the General Assembly representing the 20th

Senate District and a Deputy Minority Leader. Senator McKissick has served in the North

Carolina Senate since 2007.

       Representative Pricey Harrison is a member of the General Assembly representing the

57th House District.   Representative Harrison has served in the North Carolina House of

Representatives since 2005.

       Representative Michael H. Wray is a member of the General Assembly representing that

27th House District.    Representative Wray has served in the North Carolina House of

Representatives since 2005.

       Senator Angela Bryant is a member of the General Assembly representing the 4th Senate

District. Senator Bryant served in the North Carolina House of Representatives from 2007

through 2013, and has served in the North Carolina Senate since 2013.




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       Representative Susan Fisher is a member of the General Assembly representing the 114th

House District. Representative Fisher has served in the North Carolina House of Representatives

since 2004.

       The proposed Amici offer added perspective on the issues before the Court in this

litigation as legislators during the passage of the original same-day registration statute. The

proposed brief addresses the legislative intent behind the statute in question, N.C. Gen. Stat. §

163-82.6A, which was added by North Carolina Session Law 2007-253 (“SL 2007-253”).

[Proposed] Brief Amicus Curiae of Senator Daniel Blue, et al. is attached hereto as Exhibit 1.

The proposed Amici were legislators during the 2007-2008 Session of the General Assembly

when SL 2007-253 was passed and Senator Blue, Representative Insko, Representative Harrison,

Representative Wray, Senator Bryant, and Representative Fisher were among the co-sponsors of

House Bill 91, proposing the addition of N.C. Gen. Stat. § 163-82.6A to Chapter 163 of the

North Carolina General Statutes. The accompanying brief from the proposed Amici “provide[s]

helpful analysis of the law” and “can be useful in resolving the issues presented by the parties.”

Bryant v. Better Bus. Bureau of Greater Md., Inc., 923 F. Supp. 720, 728 (D. Md. 1996)

(citations omitted).

       Wherefore, Senator Daniel Blue Jr., Representative Verla Insko, Senator Floyd

McKissick Jr., Representative Mary Price Taylor Harrison, Representative Michael H. Wray,

Senator Angela R. Bryant, and Representative Susan C. Fisher respectfully pray that its motion

for leave to file the attached amicus curiae brief be granted.




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Respectfully submitted this the 5th day of December, 2016.



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                                 CERTIFICATE OF SERVICE

       I certify that on this day I filed the foregoing Motion for Leave to File Amicus Curiae
Brief with the clerk’s office via the CM/ECF system, which will send notification of filing to the
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       This the 5th day of December, 2016.

                                             /s/ John R. Wallace
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